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             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      WESTERN DIVISION

ROBBIE HILL; GWENNA HILL;
JOSEPH SMITH; CATHERINE SMITH;
KATHY L. HAMILTON;
JERRY VAN WORMER; RANDY
PALMER;JOYCEPALMER; LARRY
KING; MARGARET KING;
ADAM KOFOID; BRADLEY
HOOPER; CRYSTAL HOOPER;
COREY WARDEN; JULIE WARDEN;
BEVERLY STRAIN EADS, Trustee
of the Beverly Strain Eads Revocable
Living Trust; DALE STROUD; and
KARI STROUD                                              PLAINTIFFS

v.                       No. 4:12-cv-500-DPM

SOUTHWESTERN ENERGY
COMPANY; CHESAPEAKE
ENERGY; XTO ENERGY; and
SEECO, INC.                                            DEFENDANTS

                            JUDGMENT
     1.   All claims against Chesapeake Energy are dismissed with
prejudice.
     2. All claims against XTO Energy, Inc., are dismissed without
prejudice.
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     3. All claims against Southwestern Energy Company and Seeco,
Inc., by Robbie and Gwenna Hill, Joseph and Catherine Smith, Kathy
Hamilton, and Larry and Margaret King are dismissed with prejudice.
     4. All of Dale and Kari Stroud's claims against Southwestern
Energy Company and Seeco, Inc., are dismissed with prejudice based
on the remaining parties' stipulation.



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                                 D.P. Marshall Jr.
                                 United States District Judge




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